                 THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                 CRIMINAL CASE NO. 3:07-cr-00211-MR-2


UNITED STATES OF AMERICA         )
                                 )
                                 )
         vs.                     )              ORDER
                                 )
                                 )
VICTORIA L. SPROUSE,             )
                                 )
                   Defendant.    )
________________________________ )


      THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals for further consideration in light of Luis v. United States,

136 S. Ct. 1083 (2016). The Court held a status conference with the parties

on April 29, 2016.

      Upon review of the review and consideration of the arguments of

counsel, IT IS, THEREFORE, ORDERED as follows:

      (1)     This matter is hereby scheduled for an evidentiary hearing in

Charlotte, North Carolina, on June 8, 2016 at 9:00 a.m.

      (2)     The United States Marshal shall make arrangements to have the

Defendant transported from her place of incarceration to this District. The

United States Marshal shall ensure that the Defendant arrives in this District



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prior to the hearing date in order that she may be afforded adequate

opportunity to confer with counsel in preparation for the hearing.

      (3)    The parties shall file any supplemental briefs no later than June

1, 2016. Such briefs shall not exceed 25 pages in length and shall be double-

spaced and in 14-point font.

      IT IS FURTHER ORDERED that, the Defendant having been found to

be indigent and appointed counsel on appeal by the Fourth Circuit, the Court

hereby appoints attorneys Peter Crane Anderson and William R. Terpening

to represent the Defendant in connection with the proceedings in this Court

on remand.

      The Clerk is directed to provide notification and/or copies of this Order

to the United States Attorney, counsel for the Defendant, the United States

Marshals Service, and the United States Probation Office.

      IT IS SO ORDERED.
                                        Signed: May 2, 2016




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